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                           UNITED STATES BANKRUPTCY COURT
                                DISTRICT OF MINNESOTA


                                                                                   BKY No. 13-42355
In re:

Donald Andrew Driggs,                                                 NOTICE OF SETTLEMENT

                Debtor.


To:      The United States Trustee, all creditors and other parties in interest.

On or after, December 9, 2016, or as soon thereafter as the transaction may be completed, the
undersigned trustee of the estate of the debtor named above will settle a claim of the bankruptcy
estate as follows:

Plaintiff Mary Cocchiarella (“Tenant”), by and through her attorney, and Defendant Donald A.
Driggs (“Landlord”) (collectively, “the parties”), and with the participation and approval of
Chapter 7 Bankruptcy Trustee Randall L. Seaver, jointly stipulate as follows:

On June 5, 2014, pursuant to Stipulation of Tenant and Landlord, Hennepin County District Court
Referee JaPaul J. Harris entered an Order directing that $4800 (forty-eight hundred no xx/00
dollars) (“bond deposit”)--on deposit with the Housing Court in connection with the Tenant’s
lockout petition---be held by the Court as and for bond pending the determination of the Tenant’s
Judge Review action, brought following the Referee’s ruling on Tenant’s lockout petition. All of
these funds originated with Tenant. On October 21, 2014, District Court Judge Marta M. Chou
entered an Order affirming the Referee’s lockout petition decision, which had dismissed Tenant’s
lockout petition with prejudice. On May 8, 2013, Landlord filed a petition for relief pursuant to
Chapter 11 of the United States Bankruptcy Code, and that Chapter 11 case was converted to a
Chapter 7 case pursuant to an Order of the Bankruptcy Court dated August 27, 2014. The facts
giving rise to this state court lockout petition took place after May 8, 2013, but prior to August 27,
2014, thus any possible claim Landlord may have against the bond deposit, since it has not been
exempted, is property of Landlord’s bankruptcy estate, subject to administration by the Chapter 7
Trustee, pursuant to 11 U.S.C. § 704. Pursuant to Stipulation of the parties, on May 25, 2014, the
Bankruptcy Court entered an Order granting Tenant relief from the automatic stay to pursue this
state court action. On October 31, 2014, Tenant served and filed a Notice of Appeal and related
documents, seeking review of Judge Chou’s ruling in the Minnesota Court of Appeals. On
September 8, 2015, the Minnesota Court of Appeals filed its decision affirming in part, reversing
in part, and remanding the matter to the Housing Court for further proceedings. On October 8,
2015, Tenant served and filed a Petition for Review with the Minnesota Supreme Court. On
December 15, 2015, the Minnesota Supreme Court filed an Order granting Tenant’s Petition for
Review. On August 31, 2016, the Minnesota Supreme Court filed its decision reversing that part
of the decision of the Minnesota Court of Appeals ruling under review, and remanded the matter to
the Housing Court for further proceedings. On October 19, 2016 the Housing Court issued a
Notice of Hearing setting this matter for hearing 8:30 a.m. Wednesday, November 16, 2016.
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The parties have agreed to resolve all issues relating to this matter on the following terms:

        1.     Landlord agrees and Stipulates that the entire $4800 (forty eight hundred dollars)
currently on deposit with the housing court or with the district court administrator as bond pursuant
to the Housing Court’s Order of June 5, 2014, may be immediately released to Tenant, and that
Landlord will not oppose any motion or request for its release by Tenant, and Landlord will not
make any claims for deductions of any kind from this $4800, and Landlord permanently waives
any claims for costs, disbursements, or fees in connection with this action and also in connection
with bankruptcy adversary proceeding no. 14-4227 (WJF). Further, Landlord agrees to cooperate
and execute documents as may be necessary to give this Stipulation full effect and conclude the
above adversary proceeding.

      2.    Upon approval of this Stipulation in both the Housing Court and the U.S.
Bankruptcy Court, the parties agree that the Court may immediately dismiss this action, no.
27-CV-HC-14-967.

       3.      Each party shall bear his or her own costs in Housing Court action no.
27-CV-HC-14-967, and in bankruptcy adversary proceeding no. 14-4227 (WJF). Each party
expressly waives any claim or entitlement to costs, disbursements, or attorney’s fees, whether
available pursuant to statute or otherwise. Tenant releases all claims against the bankruptcy estate
in case no. 13-42355 WJF, and withdraws with prejudice her proof of claim filed in that
bankruptcy case.

        4.     Landlord and the bankruptcy estate in Landlord’s bankruptcy case permanently
waive any and all claims, counterclaims, cross claims, causes of action, or the like Landlord or the
bankruptcy estate in Landlord’s bankruptcy case had or may have had against Tenant in
connection with Tenant’s lockout petition or events preceding and giving rise to, or related to
Tenant’s lockout petition, and permanently release Tenant from any such claims, counterclaims,
cross claims or causes of action, actual or possible.

        5.     All terms of this Stipulation are inter-dependent.

        6.    This Stipulation constitutes the full and complete agreement of the parties, and may
be modified only by subsequent agreement signed by all parties and the Chapter 7 Trustee.
Acceptance of this Settlement offer by Landlord shall be by notarized signature of Landlord.
Tenant reserves the right to revoke this Settlement offer at any time before Landlord’s acceptance
is received by Tenant’s legal counsel.

       7.     This Settlement Agreement and Stipulation is subject to and contingent upon
Bankruptcy Court approval, which shall be sought by the Trustee.
The trustee believes the settlement terms to be reasonable and in the best interest of the estate.

OBJECTION: MOTION: HEARING. Under applicable rules, any objection must be in
writing, be delivered to the trustee and the United States Trustee, and be filed with the clerk, not
later than 12:00 o’clock noon on the day before the above date. If an objection is made or an order
is required, the trustee moves the court for such orders as may be necessary and appropriate. If an
                                                   2
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objection is timely delivered and filed, the court will hold an expedited hearing on the objection
with reduced notice of the hearing. The hearing will be scheduled by the trustee with notice by
the trustee to the objecting party and the United States Trustee.

Office of the Clerk                       Office of the U.S. Trustee       Trustee (see address
U.S. Bankruptcy Court                     1015 U.S. Courthouse             below)
300 South Fourth Street, Suite 301        300 South Fourth Street
Minneapolis, MN 55415                     Minneapolis, MN 55415


Dated: November 16, 2016                             /e/ Randall L. Seaver
                                                     Randall L. Seaver, Trustee
                                                     12400 Portland Avenue South, Suite 132
                                                     Burnsville, MN 55337
                                                     (952) 890-0888




                                                 3
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                                  UNITED STATES BANKRUPTCY COURT
                                        DISTRICT OF MINNESOTA

IN RE: DONALD ANDREW DRIGGS                                    CASE NO: 13-42355
                                                               DECLARATION OF MAILING
                                                               CERTIFICATE OF SERVICE
                                                               Chapter: 7
                                                               ECF Docket Reference No.
                                                               Judge:
                                                               Hearing Location:
                                                               Hearing Date:
                                                               Hearing Time:
                                                               Response Date:


On 11/16/2016, I did cause a copy of the following documents, described below,
Notice of Settlement,




to be served for delivery by the United States Postal Service, via First Class United States Mail, postage prepaid, with
sufficient postage thereon to the parties listed on the mailing matrix exhibit, a copy of which is attached hereto and
incorporated as if fully set forth herein.
I caused these documents to be served by utilizing the services of BK Attorney Services, LLC d/b/a certificateofservice.
com, an Approved Bankruptcy Notice Provider authorized by the United States Courts Administrative Office, pursuant to
Fed.R.Bankr.P. 9001(9) and 2002(g)(4). A copy of the declaration of service is attached hereto and incorporated as if fully
set forth herein.
DATED: 11/16/2016




                                                                   /s/ Randall L. Seaver
                                                                   Randall L. Seaver 152882
                                                                   Trustee in Bankruptcy
                                                                   12400 Portland Avenue South
                                                                   Burnsville, MN 55337
                                                                   952 890 0888
                                                                   tjameson@fssklaw.com
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                                         UNITED STATES BANKRUPTCY COURT
                                               DISTRICT OF MINNESOTA

 IN RE: DONALD ANDREW DRIGGS                                              CASE NO: 13-42355

                                                                          CERTIFICATE OF SERVICE
                                                                          DECLARATION OF MAILING
                                                                          Chapter: 7
                                                                          ECF Docket Reference No.
                                                                          Judge:
                                                                          Hearing Location:
                                                                          Hearing Date:
                                                                          Hearing Time:
                                                                          Response Date:

On 11/16/2016, a copy of the following documents, described below,

Notice of Settlement,




were deposited for delivery by the United States Postal Service, via First Class United States Mail, postage prepaid, with sufficient
postage thereon to the parties listed on the mailing matrix exhibit, a copy of which is attached hereto and incorporated as if fully set forth
herein.

The undersigned does hereby declare under penalty of perjury of the laws of the United States that I have served the above referenced
document(s) on the mailing list attached hereto in the manner shown and prepared the Declaration of Certificate of Service and that it is
true and correct to the best of my knowledge, information, and belief.

DATED: 11/16/2016




                                                                             Jay S. Jump
                                                                             BK Attorney Services, LLC
                                                                             d/b/a certificateofservice.com, for
                                                                             Trustee in Bankruptcy
                                                                             Randall L. Seaver
                                                                             12400 Portland Avenue South
                                                                             Burnsville, MN 55337
            Case 13-42355
PARTIES DESIGNATED              Doc NOT
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PARTIES WITH A '+' AND DESIGNATED AS "CM/ECF E-SERVICE" RECEIVED ELECTRONIC NOTICE THROUGH THE CM/ECF SYSTEM
                                             Document        Page 6 of 9
CASE INFO
1 LABEL MATRIX FOR LOCAL NOTICING        2  BANK OF AMERICA NA                    3  CITIMORTGAGE INC
 08644                                    CO WILFORD GESKE COOK PA                 4500 PARK GLEN ROAD
 CASE 13-42355                            8425 SEASONS PKWY SUITE 105              SUITE 300
 DISTRICT OF MINNESOTA                    WOODBURY MN 55125-4393                   MINNEAPOLIS MN 55416-4891
 MINNEAPOLIS
 WED NOV 16 10-23-33 CST 2016




4  CITIMORTGAGE INC                      5  FIA CARD SERVICES NA                  6  FULLER SEAVER SWANSON KELSCH
 CO WILFORD GESKE COOK PA                 4161 PIEDMONT PARKWAY                    12400 PORTLAND AVENUE SOUTH STE 132
 8425 SEASONS PARKWAY                     NC4 105 03 14                            BURNSVILLE MN 55337-6805
 SUITE 105                                GREENSBORO NC 27410
 WOODBURY MN 55125-4393




7  IRS                                   8 JPMORGAN CHASE BANK NATIONAL           9  NATIONSTAR MORTGAGE LLC
 SPECIAL ASST US ATTORNEY                ASSOCIATION                               WILFORD GESKE COOK PA
 380 JACKSON ST STE 650                   4500 PARK GLEN ROAD                      8425 SEASONS PKWY SUITE 105
 ST PAUL MN 55101-4804                    SUITE 300                                WOODBURY MN 55125-4393
                                          ST LOUIS PARK MN 55416-4891



                                                                                  EXCLUDE
10 THE BANK OF NEW YORK MELLON FKA       11 WELLS FARGO BANK NA                   12 MINNEAPOLIS
THE BANK OF                               25 N DALE ST 2ND FLR                     301 US COURTHOUSE
 SHAPIRO ZIELKE LLP                       ST PAUL MN 55102-2227                    300 SOUTH FOURTH STREET
 12550 WEST FRONTAGE ROAD                                                          MINNEAPOLIS MN 55415-1320
 SUITE 200
 BURNSVILLE MN 55337-2475




13 CITIMORTGAGE INC                      14 A J DRIGGS                            15 ACMC
 PO BOX 688971                            12135 13TH ST NW                         PO BOX 1318
 DES MOINES IA 50368-8971                 SPICER MN 56288-9314                     WILLMAR MN 56201-1318




16 ARNEL OIL CO                          17 AURORA LOAN SERVICES                  18 BANK OF AMERICA
 33 OLD HYW 8 NW                          2617 COLLEGE PARK                        PO BOX 15726
 NEW BRIGHTON MN 55112                    PO BOX 1706                              WILMINGTON DE 19886-5726
                                          SCOTTSBLUFF NE 69363-1706




19 BANK OF AMERICA                       20 BDS                                   21 BERGERSON CASWELL
 PO BOX 15726                             2430 ENTERPRISE DRIVE                    5115 INDUSTRIAL STREET
 WILMNGTON DE 19886-5726                  SAINT PAUL MN 55120-1143                 MAPLE PLAIN MN 55359-8610




22 CENTERPOINT ENERGY                    23 CENTERPOINT ENERGY                    24 CHASE BANK
 PO BOX 1144                              PO BOX 4567                              PO BOX 78420
 MINNEAPOLIS MN 55440-1144                HOUSTON TX 77210-4567                    PHEONIX AZ 85062-8420




25 CHASE CARDMEMBER SERVICES             26 CHASE CARDMEMBER SVCS                 27 CIT I MORTGAGE
 PO BOX 94014                             PO BOX 790005 ATTN MS305                 PO BOX 689196
 PALATINE IL 60094-4014                   PALATINE IL 60094-4014                   DES MOINES IA 50368-9196
            Case 13-42355
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28 CITI MORTGAGE                         29 CITY OF ORONO                         30 CITY OF ORONO
 PO BOX 790005                            2750 KELLEY PARKWAY                      750 KELLEY PKWY
 ATN MS 305                               CRYSTAL BAY MN 55323                     CRYSTAL BAY MN 55323
 SAINT LOUIS MO 63179-0005




31 CITY OF ORONO                         32 CONVERGENT OUTSOURCING INC            33 COY ASSOCIATES
 PO BOX 66                                800 SW 39TH                              5700 SMETANA DR STE 110
 CRYSTAL BAY MN 55323-0066                PO BOX 9004                              HOPKINS MN 55343-9686
                                          RENTON WA 98057-9004




34 CRAIG HOLMGREN                        35 CROWN BANK EDINA                      36 CHARLES PRIESS
 412 LAKELAND DRIVE NE                    6600 FRANCE AVE SO                       8817 W 35TH STREET
 WILLMAR MN 56201-2605                    EDINA MN 55435-1805                      315
                                                                                   ST LOUIS PARK MN 55426-3899




37 DAVID UMBEHOCKER                      38 DISCH JOSEPH ET AL                    39 DOOLEYS PETROLEUM INC
 3860 SHORELINE DRIVE                     11189 HILLSBORO AVE NO                   PO BOX 100
 WAYZATA MN 55391-9785                    CHAMPLIN MN 55316-3128                   MURDOCK MN 56271-0100




40 FIA CARD SERVICES NA                  41 FIRST NATIONAL BANK OF LAKES          42 HINSHAW CULBERTSON
 P O BOX 982284                           2445 SHADYWOOD RD                        333 S 7TH ST
 EL PASO TX 79998-2284                    NAVARRE MN 55392                         SUITE 2000
                                                                                   MINNEAPOLIS MN 55402-2431




43 HOLLY L NEFF                          44 INTERNAL REVENUE SERVICE              45 JC CHRISTENSEN ASSOC
 3543 24TH AVE S                          CENTRALIZED INSOLVENCY OPERATIONS        PO BOX 519
 MINNEAPOLIS MN 55406-2529                PO BOX 7346                              SAUK RAPIDS MN 56379-0519
                                          PHILADELPHIA PA 19101-7346




46 JPMORGAN CHASE BANK NATIONAL          47 KANDIYOHI COUNTY                      48 LDC COLLECTIONS
ASSOCIATION                               PO BOX 896                               PO BOX 4967
 3415 VISION DRIVE MAIL CODE OH47142      WILLMAR MN 56201-0896                    TRENTON NJ 08650-4967
 COLUMBUS OH 43219-6009




49 MARILYN WASIK                         50 MARILYN WASIK                         51 MARY COCCHIARELLA
 3201 HENNEPIN AVE                        5452 EMERSON AVE S                       1096 E ST
 MINNEAPOLIS MN 55408-3448                MINNEAPOLIS MN 55419-1619                ST PAUL MN 55106




52 MARY COCCHIARELLA                     53 MINNEAPOLIS FINANCE DEPT              54 MN DEPARTMENT OF REVENUE
 CO GARY VAN WINKLE ESQ                   PO BOX 77028                             BANKRUPTCY SECTION
 430 FIRST AVENUE NORTH 300               MINNEAPOLIS MN 55480-7728                PO BOX 64447
 MINNEAPOLIS MN 55401-1742                                                         ST PAUL MN 55164-0447
            Case 13-42355
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55 MN DEPT OF LABOR INDUSTRY             56 NATIONSTAR MORTGAGE LLC               57 NATIONSTAR MORTGAGE
 443 LAFAYETTE ROAD                       PO BOX 619096                            PO BOX 650783
 SAINT PAUL MN 55155-4301                 DALLAS TX 75261-9096                     DALLAS TX 75265-0783




58 NORTHERN STATES POWER                 59 NORTHERN STATES POWER CO              60 NSP DBA XCEL ENERGY
 EXCEL ENERGY                             XCEL ENERGY                              PO BOX 9477
 PO BOX 9477                              3215 COMMERCE ST                         MINNEAPOLIS MN 55484-0001
 MINNEAPOLIS MN 55484-9477                LA CROSSE WI 54603-1755




61 PARK HEATING COOLING                  62 PAUL REGIONAL WATER SERVICE           63 PAULA ANDERSON
 7801 PARK DRIVE                          1900 RICE STREET                         3990 SUNSET DRIVE
 CHANHASSEN MN 55317-9210                 SAINT PAUL MN 55113-6810                 SPRING PARK MN 55384-8401




64 PYOD LLC ITS SUCCESSORS AND           65 RICK M ILLIES                         66 RMS
ASSIGNS AS ASSI                           1605 MAPLE MANOR ROAD                    4836 BRECKSVILLE ROAD
 OF ROUNDUP FUNDING LLC                   MOUND MN 55364-1152                      RICHFIELD OH 44286-9178
 RESURGENT CAPITAL SERVICES
 PO BOX 19008
 GREENVILLE SC 29602-9008




67 ROD MCCHARLES                         68 ROMER ASSOCIATES                      69 SARAH MOLLET
 7650 HALSTEAD DR                         2318 1ST AVE SO                          2277 CARTER AVE
 MINNETRISTA MN 55364-9594                MINNEAPOLIS MN 55404-3405                SAINT PAUL MN 55108-1661




70 TONY MUDEK WASTE SERVICE              71 TRANSWORLD SYSTEM                     72 UPTOWN TRANSFER
 BOX 248                                  PO BOX 15520                             3040 FOURTH AVE SO
 NEWPORT MN 55055-0248                    WILMINGTON DE 19850-5520                 MINNEAPOLIS MN 55408-2409




73 UPTOVLN TRANSFER                      74 US TRUSTEE                            75 UNITED STATES TRUSTEES
 3040 4TH AVE SO                          1015 US COURTHOUSE                       300 SOUTH FOURTH STREET
 MINNEAPOLIS MN 55408-2409                300 S 4TH ST                             SUITE 1015
                                          MINNEAPOLIS MN 55415-3070                MINNEAPOLIS MN 55415-3070




76 WELLS FARGO HOME MTG                  77 WILLIAM H HENNEY                      78 WELLS FARGO BANK NA
 PO BOX 5296                              5101 THIMSEN AVE STE 200                 ONE HOME CAMPUS MAC X230204C
 CAROL STREAM IL 60197-5296               MINNETONKA MN 55345-4116                 BANKRUPTCY PAYMENT PROCESSING
                                                                                   DES MOINES IA 50328-0001




                                         DEBTOR
79 YOCUM OIL                             80 DONALD ANDREW DRIGGS                  81 DOUGLAS STONE
 2719 STILLWATER ROAD                     POST OFFICE BOX 405                      H R BLOCK
 SAINT PAUL MN 55119-3694                 SPRING PARK MN 55384-0405                6312 MINNETONKA BLVD
                                                                                   ST LOUIS PARK MN 55416-2061
            Case 13-42355
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82 JOSEPH W DICKER                       83 LINDA M BERREAU CPA                   84 MARY L COCCHIARELLA
 JOSEPH W DICKER PA                       16418 GLADYS LANE                        1096 EARL ST
 1406 WEST LAKE STREET                    MINNETONKA MN 55345-2840                 ST PAUL MN 55106-2705
 SUITE 208
 MINNEAPOLIS MN 55408-2653



EXCLUDE
85 RANDALL L SEAVER                      86 THOMAS FLYNN
 12400 PORTLAND AVENUE SOUTH              LARKIN HOFFMAN DALY LINDGREN
 SUITE 132                                8300 NORMAN CENTER DR
 BURNSVILLE MN 55337-6805                 STE 1000
                                          BLOOMINGTON MN 55437-1060
